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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

In re: Vioxx®                                *    MDL Docket No. 1657
                                             *
PRODUCTS LIABILITY                           *    SECTION L
LITIGATION                                   *
                                             *    JUDGE FALLON
                                             *
This document relates to:                    *
                                             *    MAGISTRATE JUDGE
Robert Lee Garryl, et al. v. Merck & Co.     *
Inc., Docket No. 06-10155, only              *
Regarding Brenda Burr                        *    KNOWLES
                                             *
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                              ORDER OF WITHDRAWAL

        Considering the Motion to Withdraw as Counsel of Record:

        IT IS ORDERED, that Beasley, Allen, Crow, Methvin, Portis & Miles, P.C. and

Seeger Weiss, LLP are hereby withdrawn as Counsel of Record for Brenda Burr.

        NEW ORLEANS, LOUISIANA, this the _____ day of ___________________,

2008.



                                           ________________________________
                                           ELDON E. FALLON
                                           UNITED STATES DISTRICT JUDGE
